 

Case 1:23-mj-O0060-ZMF Document 4 Filed 03/20/23 Page 1 of 1
AO 442 (Rev. 11/11} Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. ) Case: 1:23-mj-00060

) . . oy:
Eleanor Hunter Hoppe ) Assigned To : Faruqui, Zia M.
Assign. Date : 3/17/2023
) Description: Complaint W/ Arrest Warrant
Defendant
ARREST WARRANT
To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name af person to be arresied) Eleanor Hunter Hoppe _ :
who is accused of an offense or violation based on the following document filed with the court:

O Indictment O Superseding Indictment O Information 0 Superseding Information &% Complaint

O Probation Violation Petition © Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 2252(a)(2) - Distribution of Child Pornography;
18 U.S.C. § 2422(b) - Coercion and Enticement of a Minor;
18 U.S.C. §§ 2423(a) and (e)- Attempted Transportation of a Minor with Intent to Engage in Sexual
Activity.
Zi a M. Digitally signed by Zia

M. Faruqui

. Date: 2023.03.17
Date: | 03/17/2023 _ _ Fa ruqu | 12:50:06 -04°00" —

Issuing officer's signature

City andstate: ss Washington, D.C. ___—-Zia M. Faruqui, U.S. Magistrate Judge _

Printed name and title

 

Return

This Ta Ds received on or ll. 1 d/ 20 Ok 3, and the person was arrested on (date) SY 222 >

at (city and state}
Date: BYL2023 Jolh
Arrésting officer's signature

Alec Albers (User _

 

 

 
